                                 OPINION
{¶ 1} Appellant entered into negotiated pleas to robbery and forgery for a two year sentence and a nine month sentence to be served concurrently. He was also sentenced to a 2 year prison term for the forgery resulting from his conviction after a jury trial in 02-CR-68 which was the subject of the appeal in this court's case number 2002-CA-87. Appellant requests in a single assignment that he be resentenced in the event we should reverse his forgery conviction in 02-CR-68. Since we affirmed his conviction in 02-CR-68, appellant is entitled to no relief and his assignment of error is overruled.
Judgment Affirmed.
Brogan, J., Wolff, J., and Young, J., concur.